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				CAUDLE v. STATE2024 OK CR 14Case Number: F-2022-414Decided: 05/30/2024JOSHUA TROY CAUDLE, Appellant v. THE STATE OF OKLAHOMA, Appellee

Cite as: 2024 OK CR 14, __  __

				

O P I N I O N
ROWLAND, PRESIDING JUDGE:
¶1 Appellant Joshua Troy Caudle appeals his Judgment and Sentence from the District Court of Okmulgee County, Case No. CF-2018-87, for Lewd or Indecent Proposals to a Child Under 16, in violation of 21 O.S.Supp.2017, § 1123(A)(1). The Honorable Lawrence W. Parish, District Judge, presided over Caudle's jury trial and sentenced him, in accordance with the jury's verdict, to three years imprisonment.1 Caudle raises one issue for review:
(1) whether the district court erred by overruling his demurrer.
¶2 We find relief is not required and affirm the Judgment and Sentence of the district court.

Background
¶3 On March 27, 2018, Caudle drove to a house in Okmulgee County, wearing his jailer uniform, badge, and duty weapon, for the purpose of having sex with a person he knew online only as "Stevie J". In reality, Stevie J. was a fictious person and profile, created by Captain James Ables of the Okmulgee Police Department, as part of an online undercover investigation of internet crimes against children. Using the social media site, MeetMe, Captain Ables initiated this investigation during February and March of 2018, and to comply with the website's age requirement, he listed Stevie J. as over 18 years of age.
¶4 It was undisputed that Caudle sent the first message to this fake profile. It was also undisputed that Caudle was told early on that Stevie J. was only 13 years old. Caudle ceased contact after the initial conversations and being told Stevie J. was 13. However, he resumed contact with the Stevie J profile within a day or so, using a newly-created profile of his own. He was again told Stevie J. was 13. Nonetheless, he engaged in conversations over the next few weeks, some of them sexual in nature, and arranged to meet the purported 13-year-old to have sex. He drove to the pre-set meeting place, passed by the house twice before stopping, and police arrested him in the driveway of the residence.
¶5 Caudle waived his Miranda rights and agreed to make a statement. He admitted that he was the one chatting with Stevie J. online. He said he changed his mind about having sex on the way to the prearranged meeting and intended to break it off in person. At trial, however, Caudle testified in his own defense and claimed that he believed that he was chatting with a 23-year-old the whole time. He claimed he thought the statements about Stevie J. being 13 were part of a fantasy game and he relied on the defense of entrapment.

Analysis
¶6 Caudle's sole claim on appeal is that it was error for the district court to overrule his demurrer because he was entrapped. He contends the State's evidence not only failed to disprove his defense of entrapment but also that the evidence established as a matter of law that he was entrapped. He asks this Court to reverse his conviction and remand his case to the district court for dismissal. Because Caudle presented evidence after the State rested at trial, he has waived review of the ruling on his demurrer. Young v. State, 2000 OK CR 17, ¶ 34, 12 P.3d 20, 35. We therefore treat this claim as a general challenge to the sufficiency of the evidence. Id. 2000 OK CR 17, ¶ 35, 12 P.3d at 35.
¶7 Evidence is sufficient to support a conviction if, viewing the evidence and all reasonable inferences from it in the light most favorable to the State, any rational trier of fact could find the defendant guilty beyond a reasonable doubt. Mason v. State, 2018 OK CR 37, ¶ 13, 433 P.3d 1264, 1269; Spuehler v. State, 1985 OK CR 132, ¶ 7, 709 P.2d 202, 203-04. This Court neither reweighs conflicting evidence nor second-guesses the fact-finding decisions of the jury; we accept all reasonable inferences and credibility choices that tend to support the verdict. Mason, 2018 OK CR 37, ¶ 13, 433 P.3d at 1269. Whether the entrapment defense has been proven where the evidence is conflicting or where different inferences can be drawn from the evidence is a jury question. Soriano v. State, 2011 OK CR 9, ¶ 27, 248 P.3d 381, 393. The primary issue in entrapment analysis is whether the defendant was ready and willing to violate the law. Id. 2011 OK CR 9, ¶ 25, 248 P.3d at 392. "[T]he entrapment question is more about what kind of person the government has set out to catch, and whether that person was already ready and willing (i.e., 'predisposed') to commit the crime at issue when he or she was first approached, than it is about whether the government tricked or deceived that target." Id. 2011 OK CR 9, ¶ 31, 248 P.3d at 394. In other words, it is up to the jury to decide whether the defendant was predisposed to commit the crime or was instead induced by police to do so. Police merely providing an already willing participant the opportunity to commit a crime does not constitute entrapment. Carney v. State, 1984 OK CR 58, ¶ 5, 679 P.2d 1303, 1304. See also Sherman v. United States, 356 U.S. 369, 372 (1958).
¶8 On appeal, Caudle claims that the lack of evidence that he had sexually targeted underage girls in the past, and the lack of child pornography or related messages on his phone proved his lack of predisposition to commit this crime. He also relies upon the fact that MeetMe is a dating application for those over 18 years old to support his claim of entrapment.
¶9 Caudle's contention that the State failed to disprove his entrapment defense beyond a reasonable doubt is without merit. A rational jury, without difficulty, could find beyond a reasonable doubt that he was ready and willing to commit the charged crime, and that the police merely provided him with an opportunity. Whether he was engaging in role playing with a person he believed was over the age of 18, or whether he indeed thought Stevie J. was 13 years old, was a question for the jury. The jury understandably rejected his entrapment defense after considering Caudle's willingness to make lewd propositions to the fictitious profile of a person claiming to be a 13-year-old girl, his statements to police, and his trial testimony. Because the evidence was sufficient to prove the charged crime and to disprove his entrapment defense, this claim is denied.

DECISION
¶10 The Judgment and Sentence of the district court is AFFIRMED. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (2024), the MANDATE is ORDERED issued upon delivery and filing of this decision.

AN APPEAL FROM THE DISTRICT COURTOF OKMULGEE COUNTYTHE HONORABLE LAWRENCE W. PARISH, DISTRICT JUDGE





APPEARANCES AT TRIAL
ROBERT V. SEACATTHE SEACAT LAW FIRM3220 S. PEORIA AVE., SUITE 203TULSA, OK 74105COUNSEL FOR DEFENDANT



APPEARANCES ON APPEAL
ROBERT V. SEACATTHE SEACAT LAW FIRM3220 S. PEORIA AVE., SUITE 203TULSA, OK 74105COUNSEL FOR APPELLANT




&nbsp;

DAVID YOULLASST. DISTRICT ATTORNEY314 W. 7TH STREET, SUITE 205OKMULGEE, OK 74447COUNSEL FOR STATE

&nbsp;

GENTNER F. DRUMMONDATTY. GENERAL OF OKLAHOMASHERI M. JOHNSONASSISTANT ATTORNEY GENERAL313 N.E. 21ST STREETOKLAHOMA CITY, OK 73105COUNSEL FOR APPELLEE




&nbsp;
OPINION BY: ROWLAND, P.J.MUSSEMAN, V.P.J.: ConcurLUMPKIN, J.: ConcurLEWIS, J.: ConcurHUDSON, J.: Concur

FOOTNOTES
1 Under 21 O.S.Supp.2015, § 13.1, Caudle must serve 85% of his sentence of imprisonment before he is eligible for parole consideration.





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases

&nbsp;
Cite
Name
Level



&nbsp;
2011 OK CR 9, 248 P.3d 381, 
SORIANO v. STATE
Discussed at Length


&nbsp;
2018 OK CR 37, 433 P.3d 1264, 
MASON v. STATE
Discussed at Length


&nbsp;
1984 OK CR 58, 679 P.2d 1303, 
CARNEY v. STATE
Discussed


&nbsp;
1985 OK CR 132, 709 P.2d 202, 
SPUEHLER v. STATE
Discussed


&nbsp;
2000 OK CR 17, 12 P.3d 20, 71 OBJ        2286, 
Young v. State
Discussed at Length

Title 21. Crimes and Punishments

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Cite
Name
Level



&nbsp;
21 O.S. 13.1, 
Required Service of Minimum Percentage of Sentence - Offenses Specified
Cited


&nbsp;
21 O.S. 1123, 
Lewd or Indecent Proposals or Acts to Child Under 16
Cited



	
	








				
					
					
				

		
		






	
		
			
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